      Case 3:19-cv-07647-WHA Document 77 Filed 11/16/20 Page 1 of 2



 1   Matthew C. Helland, CA Bar No. 250451
     helland@nka.com
 2   Daniel S. Brome, CA Bar No. 278915
 3   dbrome@nka.com
     NICHOLS KASTER, LLP
 4   235 Montgomery St., Suite 810
     San Francisco, CA 94104
 5   Telephone: (415) 277-7235
     Facsimile: (415) 277-7238
 6

 7   Rachhana T. Srey, MN Bar No. 340133*
     NICHOLS KASTER, PLLP
 8   80 S. 8th Street, Suite 4600
     Minneapolis, MN 55402
 9   Telephone: (612) 256-3200
     Facsimile: (612) 338-4878
10
     *admitted pro hac vice
11
     Benjamin L. Davis, MD Bar No. 29774*
12   bdavis@nicholllaw.com
     Michael Brown, MD Bar No. 20814*
13   mbrown@nicholllaw.com
     THE LAW OFFICES OF PETER T.
14   NICHOLL
     36 Charles Street, Suite 1700
15   Baltimore, MD 21201
     *Pro hac vice application forthcoming
16
     Attorneys for PLAINTIFF and those similarly
17   situated

18
                            UNITED STATE DISTRICT COURT
19                 NORTHERN DISTRICT OF CALIFORNIA - SAN FRANCISCO
20
      AARON KUDATSKY, individually and on           ) Case No. 3:19-CV-07647-WHA
21    behalf of all others similarly situated,      )
                                                    ) PLAINTIFF’S ADMINISTRATIVE
22                                                  ) MOTION TO FILE UNDER SEAL
                                  Plaintiff,        )
23                                                  )
                                                    )
24           vs.
                                                    )
                                                    )
25                                                  )
      TYLER TECHNOLOGIES, INC.
                                                    )
26                                                  )
                                  Defendant.
27                                                  )
                                                    )
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     [PLAINTIFF’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL               US_ACTIVE-154098109.1
      Case 3:19-cv-07647-WHA Document 77 Filed 11/16/20 Page 2 of 2



 1          Pursuant to Local Rule 79-5(d)(1), Plaintiff Aaron Kudatsky, individually and on behalf

 2   of all others similarly situated, respectfully seek leave to file under seal unredacted versions of

 3   the following documents: Plaintiff’s Motion for Class Certification (collectively, the “Proposed

 4   Sealed Documents”), and Exhibits 1 – 5 to the accompanying Brome Declaration. The

 5   unredacted versions of the Proposed Sealed Documents are attached as Exhibits A and B to the

 6   Declaration of Daniel S. Brome (“Brome Declaration”) filed in support of this Application.

 7          As detailed in the Brome Declaration, the Proposed Sealed Documents contained in

 8   Exhibit B were produced by Defendant and were designated as Confidential pursuant to the

 9   stipulated protective order. Following meet and confer efforts, the Parties did not agree to

10   remove the Confidential designations. Defendant indicated an intent to file a declaration,

11   pursuant to Local Rule 79-5(e), to demonstrate why that material should remain sealed.

12          In light of the foregoing, Plaintiff respectfully requests that this Court issue the proposed

13   order authorizing them to file unredacted versions of the Proposed Sealed Documents under seal

14   and publicly-available versions that redact the material described in the [Proposed] Order filed

15   concurrently herewith.

16

17 Dated: November 16, 2020                         NICHOLS KASTER, LLP

18                                          By:     s/Daniel S. Brome
19                                                  Matthew C. Helland
                                                    Rachhana T. Srey
20                                                  Daniel S. Brome

21                                                  Attorneys for Plaintiff and Others Similarly
                                                    Situated
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      PLAINTIFF’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
